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 2
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 4
     Attorney for CHARLES GOODMAN
 5

 6                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                  ) No. 2:17-CR-0023 TLN
 8
                     Plaintiff,                     )
 9                                                  ) STIPULATION AND ORDER
            v.                                      ) FOR A NEW SENTENCING DATE
10                                                  ) FOR MR. GOODMAN OF
                                                    ) FEBRUARY 28, 2019
11
     CHARLES GOODMAN,                               )
12
                                                    )
                     Defendant.                     ) Judge: Hon. Troy L. Nunley
13   ================================)
14          Defendant Charles Goodman is requesting a continuance of his sentencing hearing, which is
15   presently set for January 10, 2019, to a new date of February 28, 2019. AUSA Jason Hitt, on behalf
16   of the United States Attorney’s Office, and USPO Lynda Moore, on behalf of the United States
17   Probation Office, have no objection to the requested continuance. The parties hereby stipulate to re-
18   set the schedule for the pre-sentence report as follows:
19
            Judgment and Sentencing Date: February 28, 2019
20

21
            Reply, or Statement of Non-opposition: February 21, 2019

22          Motion for Correction of the Presentence Report shall be filed with the Court and
            served on the Probation Officer and opposing counsel no later than: February 14, 2019
23

24
            The Amended Presentence Report shall be filed with the Court and disclosed to the
            parties no later than: February 7, 2019
25
     Dated: January 3, 2019                                 Respectfully submitted,
26
                                                            /s/ Michael D. Long
27
                                                            MICHAEL D. LONG
28                                                          Attorney for Charles Goodman


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 2
     Dated: January 3, 2019                             McGREGOR SCOTT
 3                                                      United States Attorney

 4                                                      /s/ Jason Hitt
                                                        JASON HITT
 5
                                                        Assistant U.S. Attorney
 6

 7                                              ORDER
 8
        GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
 9
            The Court hereby orders that the schedule for Mr. Goodman’s pre-sentence report is
10
     amended as follows:
11
            Judgment and Sentencing Date: February 28, 2019, at 9:30 a.m.
12

13          Reply, or Statement of Non-opposition: February 21, 2019

14          Motion for Correction of the Presentence Report shall be filed with the Court and
            served on the Probation Officer and opposing counsel no later than: February 14, 2019
15

16          The Amended Presentence Report shall be filed with the Court and disclosed to the
            parties no later than: February 7, 2019
17

18
     Dated: January 3, 2019
19

20                                                       Troy L. Nunley
                                                         United States District Judge
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